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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 NATHAN CAMPBELL, JR., et al.


                        Plaintiffs,
                                                    Case No. 1:17-cv-00413 (CRC)
                        v.

 DISTRICT OF COLUMBIA, et al.,

                        Defendants.

                                      SCHEDULING ORDER

       Upon consideration of the Parties’ Joint Rule 16.3 Meet and Confer Statement, it is hereby

ORDERED that:

       1. Discovery in this case shall proceed according to the following schedule:

               Fact Discovery Commences                              July 5, 2017

               Initial Disclosures                                   August 4, 2017

               Motion to Add Parties or Amend Pleadings              September 1, 2017

               Fact Discovery Deadline                               November 1, 2017

               Proponent’s Expert Disclosures                        November 15, 2017

               Opponent’s Expert Disclosures                         December 7, 2017

               Discovery Deadline                                    January 8, 2018

               Post-Discovery Status Conference                      January 9, 2018 at 10:00am.

       2.      Absent agreement of the parties or Order of the Court, the parties shall be limited to

no more than five (5) non-party depositions, no more than twenty-five (25) interrogatories, and no

more than twenty-five (25) requests for admission per side. 14-1

       3.      No discovery motions may be filed without leave of the Court. In the event that a

discovery dispute arises, the parties shall make a good faith effort to resolve or narrow the areas of
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disagreement. If the parties are unable to resolve the discovery dispute, the parties shall jointly call

chambers at (202) 354-3480 to arrange for a telephone conference with the Court. The Court will

either rule on the issue at the conclusion of the telephone conference or determine the manner in

which it will be handled. At least twenty-four (24) hours before jointly calling chambers, the

parties may be required to file with the Court a brief Joint Notice of Discovery Dispute

summarizing the parties’ respective positions.

       4.      Parties may not extend deadlines by stipulation. Parties must seek extensions by

motion.

       5.      The Court will hold a post-discovery status conference, at which it will set a

schedule for summary judgment briefing, if necessary. The parties are directed to Local Civil Rule

7(h) regarding the requirements for motions for summary judgment and oppositions. Parties shall

provide courtesy copies of any document constituting, supporting, or opposing a dispositive motion

if said document, together with its exhibits, attachments, declarations, and affidavits, is over one

hundred (100) pages.

       SO ORDERED.




                                                              CHRISTOPHER R. COOPER
                                                              United States District Judge

Date: June 5, 2017




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